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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND



JAVONNA S. BARNES                               *
                                                *
      Plaintiff                                 *
                                                *
v.                                              *      Civil Action No. PJM 18-1473
                                                *
NCC BUSINESS SERVICES, INC., et al.             *
                                                *
      Defendants                                *

                                             ******


                                   SCHEDULING ORDER

        This scheduling order is being entered pursuant to Local Rule 103.9. Any inquiries
concerning the schedule should be directed to my chambers, not to the Clerk=s Office. Any
party who believes that any deadline set forth in this Scheduling Order is unreasonable may
request in writing a modification of the Order or that a conference be held for the purpose of
seeking a modification of the Order, and any such request must be made on or before the first
date set forth in Paragraph I below. Thereafter, the schedule will not be changed except for
good cause.

        This case is subject to electronic filing. Please familiarize yourself with the procedures
for electronic filing available at: www.mdd.uscourts.gov. You must use the electronic filing
system for filing documents with the Clerk and sending case related correspondence to
chambers. When you electronically file a document that, including attachments, is 15 pages
or longer, you must also provide me a paper copy of the document and a paper copy of the
notice of electronic filing. The paper copy should be sent to the Clerk’s Office, not directly to
my chambers.


                                        I. DEADLINES

       August 28, 2018:                 Deadline for requests for modification of initial
                                        Scheduling Order

       August 28, 2018:                 Joint request for early settlement/ADR
                                        conference (This request will not postpone
                                        discovery unless otherwise ordered.)
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       August 28, 2018:                 Initial report whether there is unanimous consent
                                        to proceed before a United States Magistrate
                                        Judge

       August 28, 2018:                 Deadline for conference about discovery of
                                        electronically stored information. (If either or
                                        both parties intend to take such discovery, before
                                        the conference counsel should review the
                                        Principles for the Discovery of Electronically
                                        Stored Information in Civil Cases prepared by a
                                        Joint bench/bar committee published on the
                                        court’s website.)

       September 28, 2018:              Moving for joinder of additional parties and
                                        amendment of pleadings

       October 15, 2018:                Plaintiff’s Rule 26(a)(2) disclosures

       November 12, 2018:               Defendant’s Rule 26(a)(2) disclosures

       November 26, 2018:               Plaintiff’s rebuttal Rule 26(a)(2) disclosures

       December 3, 2018:                Rule 26(e)(2) supplementation of disclosures and
                                        responses

       December 27, 2018:               Discovery deadline; submission of status report

       January 3, 2019:                 Requests for admission

       January 28, 2019:                Dispositive pretrial motions deadline


                                        II. DISCOVERY

Initial Disclosures

       This is an action in which Fed. R. Civ. P. 26(a)(1) disclosures need not be made.

Discovery Conference

        This action is exempted from the requirements of Fed. R. Civ. P. 26(d)(1) and from Fed.
R. Civ. P. 26(f). However, you are encouraged to confer with one another immediately in order
to: (a) identify the issue(s), (b) set a discovery plan, (c) determine if the case can be resolved


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before your clients incur further litigation expense, (d) discuss any issues about preserving
discoverable information, and (e) establish a cordial professional relationship among yourselves.

Procedure

       All the provisions of Local Rule 104 apply, including the following:

              a.     All discovery requests must be served in time to assure that they are
              answered before the discovery deadline. An extension of the deadline will not be
              granted because of unanswered discovery requests.

              b.      The existence of a discovery dispute as to one matter does not justify
              delay in taking any other discovery. The filing of a motion to compel or a motion
              for a protective order will not result in a general extension of the discovery
              deadline.

              c.     No discovery materials, including Rule 26(a)(1) and Rule 26(a)(2)
              disclosures, should be filed with the court.

              d.     Motions to compel shall be filed in accordance with Local Rule 104.8 and
              the applicable CM/ECF procedures.

              e.     Please be familiar with the Discovery Guidelines of this Court which are
              Appendix A to the Local Rules. Appendix D contains guidelines for form
              discovery requests and confidentiality orders that may be helpful to you.


                                    III. STATUS REPORT

       The parties shall file on the day of the discovery deadline a status report covering the
following matters:

              a.      Whether discovery has been completed;

              b.      Whether any motions are pending;

              c.      Whether any party intends to file a dispositive pretrial motion;

              d.        Whether the case is to be tried jury or non-jury and the anticipated length
              of trial;

              e.     A certification that the parties have met to conduct serious settlement
              negotiations; and the date, time and place of the meeting and the names of all
              persons participating therein;

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               f.      Whether each party believes it would be helpful to refer this case to
               another judge of this court for a settlement or other ADR conference, either before
               or after the resolution of any dispositive pretrial motion;

               g.      Whether all parties consent, pursuant to 28 U.S.C. § 636(c), to have a U.S.
               Magistrate Judge conduct all further proceedings in this case, either before or
               after the resolution of any dispositive pretrial motion, including trial (jury or non-
               jury) and entry of final judgment.

               h.      Any other matter which you believe should be brought to the court's
               attention.


                           IV. DISPOSITIVE PRETRIAL MOTIONS

       If more than one party intends to file a summary judgment motion, the provisions of
Local Rule 105.2.c apply.

       After motions and responses thereto have been filed, I will advise you if a hearing is to be
scheduled.


                        V. STATUS AND PRETRIAL CONFERENCES

        I will set a scheduling conference after the status report has been filed, unless that report
indicates that one or more of you intends to file a dispositive pretrial motion. In the latter event I
will not set a scheduling conference until after I have ruled upon the motion (or the dispositive
pretrial motion deadline passes without the anticipated motion being filed).

       At the scheduling conference:

               a.     I will set a deadline for submitting the pretrial order, motions in limine,
               proposed voir dire questions and proposed jury instructions;

               b.      I will set a pretrial conference date and a trial date; and

               c.       I will ask you whether a settlement conference or other ADR conference
               with a judicial officer would be useful, and whether all parties would consent to
               trial (jury or non-jury) before a U.S. Magistrate Judge. Please confer with your
               client about these matters before the conference so that you are in a position
               to respond.



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                                   VI. ATTORNEYS’ FEES

       In any case where attorneys’ fees may be sought by the prevailing party, counsel must be
familiar with the provisions of Local Rule 109.2 and the Rules and Guidelines for Determining
Attorneys’ Fees in Certain Cases which are Appendix B to the Local Rules.


         VII. COMPLIANCE WITH LOCAL RULES AND CM/ECF PROCEDURES

       The court will demand compliance with the Local Rules and CM/ECF procedures. If you
need to obtain a copy of the Local Rules or the CM/ECF procedures, they are available on our
website at www.mdd.uscourts.gov.


                VIII. COMPLIANCE WITH PRIVACY PROTECTION RULE

        Counsel are reminded that the Federal Rules of Civil Procedure were amended, effective
December 1, 2007, with the addition of a new Rule 5.2 which has detailed requirements
requiring the redaction of filings with this court that contain an individual's social security
number, tax payer identification number, or birth date, the name of an individual known to be a
minor, or a financial account number. It is essential that counsel comply with this rule and with
the revised version of the Judicial Conference Privacy Policy adopted in March 2008. For
further information on the Judicial Conference Privacy Policy see:
http://www.mdd.uscourts.gov/news/news/privacy_memo.pdf.




Date: August 14, 2018                                                 /s/
                                                    Peter J. Messitte
                                                    United States District Judge




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